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            FINAL DISCLOSURE (FD)—INCOME SHARE AGREEMENT (TUITION ISA)
PARTICIPANT:                        ISA ORIGINATOR:                                                   RIGHT TO CANCEL
Michael Trepanier                   Kenzie Academy                         You have a right to cancel this transaction, without penalty, by
11509 Golden Willow                 47 S. Meridian St.                     midnight on February 3, 2020. If you cancel by this date, you
court                               Indianapolis, IN                       are canceling the contract in its entirety, including the
Zionsville, Indiana                 46204                                  disclosures. You may cancel by writing us at Vemo Education,
46077                                                                      3905 Tampa Rd #2453, Oldsmar, FL, 34677.              A mailed
                                                                           cancellation letter will be deemed timely if postmarked no later
                                                                           than the cancellation date listed above.

                          Your ISA Terms                                         Your ISA Payments End (Earliest to Occur):
           ISA              Income       Minimum Income                          Payment        Payment            Payment
                                                                                           OR               OR
          Amount             Share          Threshold                             Term            Cap              Window
  $23,900.00                 13.00%                 $3,333.34                48 payments                 $41,825.00                96 months
                                                                                 Payments end                                         Payments end
                                                  You are required to                                       Payments end
       The cost of          The percent of                                       after you have                                     this many months
                                                make Monthly Payments                                       when you have
      the services        your gross monthly                                    made this many                                       after your Grace
                                                 only when your gross                                      paid this amount
    you will receive        Earned Income                                     Monthly Payments                                         Period ends
                                                monthly Earned Income is                               (excluding any costs or
    through this ISA         you will pay                                   (excluding any costs or                              (excluding any costs or
                                                  at least this amount                                    fees, if applicable)
                                                                               fees, if applicable)                                 fees, if applicable)


           FEES                 ITEMIZED TOTAL ISA AMOUNT                                   ABOUT YOUR CONTRACT TERMS
                                                                                    • Your Income Share is a fixed percentage of your
          Late Fee                                                                    future Earned Income you will owe in return for the
                              Amount paid to you                       $0.00          ISA Amount credited to your account to your account.
     The lesser of                                                                    It is not an interest rate or annual percentage rate.
   $5 and 5% of the
   payment amount                                                                   • Your Monthly Payment will equal your monthly
         due                                                                          Earned Income multiplied by your Income Share. As
                              Amount applied to your                                  a result, Monthly Payments may vary, and the total
                              tuition obligation:              + $23,900.00           amount you will pay may be more or less than your
                              • Kenzie Academy                                        ISA Amount but will never exceed your Payment Cap.
 Returned Payment
  or Non-Sufficient                                                                 • Your Minimum Income Threshold is equivalent to an
  Funds (NSF) Fee                                                                     annual Earned Income of $40,000.
            $25               ISA Amount                       = $23,900.00
                                                                                    • Your ISA obligation will end after you have paid all
 ($20 for NY residents)
                                                                                      outstanding costs and fees, if any.


Payment Illustration
ISAs are different from loans and tuition payment plans (which require repayment in full and may have a finance
charge or interest). An ISA requires you to pay a fixed percentage of your Earned Income each month for up to a
fixed number of Monthly Payments. The table below illustrates the Monthly Payment amount, number of Monthly
Payments, and total amount that would be paid for various levels of Earned Income.

               Earned                           $23,900.00 ISA Amount                          •      Monthly Payments are determined
               Income                            13.00% Income Share                                  based on monthly Earned Income;
     Monthly            Annual            Monthly         Number of            Total of               annual Earned Income equivalents are
     Income            Equivalent         Payment         Payments            Payments                included for illustration purposes only.
  <$3,333.34           <$40,000                $0              0                 $0
   $3,333.34           $40,000             $433               48              $20,800          • This illustration assumes your Earned
                                                                                                 Income remains constant and may not
   $4,166.67           $50,000             $542               48              $26,000
                                                                                                 apply to your specific circumstances.
   $5,000.00           $60,000             $650               48              $31,200
   $5,833.33           $70,000             $758               48              $36,400          • All payments in this illustration have
   $6,666.67           $80,000             $867               48              $41,600            been rounded to the nearest dollar.



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                                                                                                                                     Exhibit C
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Final Disclosure Reference Notes

When do payments begin?
You are not required to make any payments while you remain enrolled at Kenzie Academy or during your 3-month
Grace Period. Your Payment Window begins on the 1st day of the month after your Grace Period ends. Your 1st
Monthly Payment is due 1 month after your Payment Window begins.

What will you pay under an ISA?
 • You will pay a percentage of your earned income.
 • Monthly payment = Income Share × monthly earned income.
 • The total amount you will be required to pay may be more or less than the ISA Amount. It will depend on your
   future earned income.

What documents will you need to provide for us to calculate what you owe?
   By the end of the Grace Period              By March 1 each year and every time your income changes
  A pay stub, letter from your         1. By March 1 each year: A year-end pay stub, Form W-2, Form 1099,
  employer,        self-employment        Schedule 1, Schedule C, Schedule E, or Schedule K-1 – whichever is
  contract, consulting agreement,         applicable – for all sources of earned income and validation of the dates
  or other verifiable source              of your employment (showing prior year’s earnings). This is used for
  (dated within 30 days).                 reconciliation. You must reimburse us for any underpayments, and we will
                                          credit your account for any overpayments—or refund the excess amount if
  This is used to calculate your
                                          your payment obligation has ended.
  initial required payments. If you
  do        not     provide     this   2. Every time your income changes AND by March 1 each year: A pay stub,
  documentation or documentation          letter from your employer, self-employment contract, consulting
  for deferment, we will assume           agreement, or other verifiable source (showing current earnings). This is
  your earned income matches the          used to re-calculate your required payments. If you do not to provide this
  average full-time income for            documentation, we will assume your earned income has increased by 10%
  occupations directly related to         and change your monthly payment accordingly, effective June 1 each year.
  your program (determined based
                                       3. At our request: A completed and signed IRS Form 4506-T or Form 4506T-
  on Bureau of the Census and
                                          EZ (or any successor form), designating us as the recipient of your tax
  Bureau of Labor Statistics data).
                                          return information for returns covering any and all months of your payment
                                          obligation, dated not earlier than 30 days before the date you provide it to
                                          us.

Can you end your payment obligation early?
You may extinguish your ISA before the Payment Window ends by paying a Prepayment Amount equal to:
                           $41,825.00 − payments already made + any outstanding fees.

When are Monthly Payments not required (“Deferments”)?
 • After your Payment Window begins, your account will be placed in a deferment status and you will not make
   payments for any month in which your Earned Income is less than $3,333.34 (equivalent to $40,000/year) or that
   you are enrolled at least half-time in Higher Education or Training.
 • Months in which no payments are required as a result of your Earned Income being less than $3,333.34 do not
   count as Monthly Payments and do not count towards your Maximum Number of Monthly Payments. Your
   Maximum Number of Monthly Payments and your Payment Window will not change as the result of any applicable
   deferment.

                  See the Additional Terms that you signed when you accepted this ISA
                 for further information about payment, prepayment, deferment, default,
                  and your other legal obligations under this Income Share Agreement.



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